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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

   Jennifer Hough,
                                 Plaintiff,


          -against                                      Civil Action No. 21-cv-4568


                                                        Declaration of Tyrone A. Blackburn
   Kenneth Petty, AKA (“Zoo”),
   an individual
                              Defendant.

                                Declaration of Tyrone A. Blackburn

   I, Tyrone A. Blackburn, hereby declare according to 28 U.S.C. §1746 as follows:

       1. I am an attorney duly admitted to practice in the State of New York. I am also co-counsel

          for Plaintiff Jennifer Hough (“Ms. Hough”) in the above matter.          I have personal

          knowledge of the facts set forth in this Declaration.

       2. I submit this Declaration in Support of Plaintiff’s Motion for Entry of Default Judgment

          against Defendant Kenneth Petty (“Defendant Petty”) pursuant to Federal Rules of Civil

          Procedure (“FRCP”) Rule 55(b) and Local Civil Rule 55.2(b).

       3. Prior to filing this motion, I investigated whether Defendant Petty was an active member

          of the military. Pursuant to Judge Eric N. Vitaliano’s Rules, Rule III. F., I searched for

          Defendant Petty on the Servicemembers Civil Relief Act website and confirmed that he is

          not a member of the military, active or otherwise.        See Search Results from the

          Servicemembers Civil Relief Act website annexed hereto as (Exhibit A).

       4. I have reviewed the Declaration of Plaintiff’s Process Server, and his Proof of Service

          affidavit for Defendant Petty dated September 15, 2021. Process was properly served

          pursuant to FRCP Rule 4(e) and, pursuant to the joint letter submitted on October 25, 2021


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           [Dkt. No. 24] and the Court’s subsequent October 26, 2021, Order for filing the instant

           motion.

       5. On August 13, 2021, this case was filed on behalf of Ms. Hough. On September 2, 2021,

           Ms. Hough filed her first amended complaint.

       6. Prior to, and after filing suit, this writer sent several emails to Onika Tanya Maraj’s

           (“Maraj”) prior counsel, Peter Ross (Exhibit B), and called her current management team.

           Additionally, I contacted Petty’s current defense counsels, Hagop Kuyumjian, and Michael

           A. Goldstein. (Exhibit C). All the counsels ignored my emails.

       7. I learned of Petty’s address through his registration on California’s sex offender’s registry.

           (Exhibit D).

       8. On September 15, 2021, registered process server, Robert Diaz, served a summons and

           complaint on Petty at his Calabasas, California home located at 23483 Park Colombo,

           Calabasas, CA 91302. (Exhibit E).

       9. The date for Petty to answer, and or move with regards to the complaint was October 6,

           2021. Petty made the conscious decision to ignore this action.

       10. On October 11, 2021, five days after their deadline to answer and or move with regards to

           this complaint, I filed a request for certificate of default from the clerk of the court.

       11. On October 25, 2021, Counsel for Petty, Steven D. Isser made an appearance in this case.

   Petty Sues the State of New York:

       12. On August 19, 2021, six days after Ms. Hough filed suit against Petty, he filed suit against

           the state of New York in, 1:21-cv-04677-EK-RLM, Petty v. New York State et al. (Exhibit

           F).

       13. In a show of utter disrespect for this court, and for these proceedings, Petty failed to file an




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          answer and or move in this action, although he is literally a few doors down from Judge

          Vitaliano’s courtroom suing the state of New York.

       14. Petty’s disrespect of the legal process is in line with his consistent residency on the wrong

          side of the law.

              a. In 2006, Petty pleaded guilty to a charge of manslaughter for the 2002 senseless

                  murder of Lamont Robinson.

              b. In 2013, Petty was required to register as a level 2 sex offender because of the 1994

                  rape of Ms. Hough.

              c. On August 6, 2021, Petty pleaded guilty for failure registering as a sex offender in

                  the Central District of California. As of the date of this declaration, Petty is

                  awaiting sentencing.

              d. On or about January 27, 2022, several news outlets report that Petty and Maraj were

                  both sued in Germany by a former security guard because Petty sucker punched

                  him in his face breaking his jaw. Upon information and belief, there is currently a

                  warrant for his arrest in Germany. (Exhibit G).

   Petty has no rehabilitative characteristics:

       15. As if pleading guilty to several felonies wasn’t enough, on or about August 12, 2021, the

          associate Petty sent to Ms. Hough’s house, Barry Dukes, AKA “Black” posted a threat to

          his Instagram live threatening to kill Ms. Hough. (Exhibit H, a video which will be

          mailed to chambers).

       16. On October 23, 2021, two days prior to Petty’s counsel making an appearance in this case,

          Petty and Maraj were both in this district, in Jamaica Queens, New York. As seen on an

          Instagram live video currently up on Maraj’s Instagram page, upon information and belief,




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          both Maraj and Petty were seen associating with members of the Makk Balla Brims set of

          the Bloods Gang.

       17. Upon information and belief, Petty is a member of this gang. (Exhibit I, a video which

          will be mailed to chambers).

       18. Petty can be visibly seen posing and throwing up gang signs with his fellow Makk Balla

          Brims Bloods gang members. (Exhibit J).

       19. On October 23, 2021, shortly after Petty and Maraj are spotted with their purported

          gangster colleagues, a member of the gang posted a death threat to Ms. Hough on Twitter,

          stating: “Jennifer if you see this, the Makks are coming to get you.” (Exhibit K).

   Petty’s April 5, 1995, Plea Hearing:

       20. On or about April 5, 1995, Petty had a plea hearing before NYS Supreme Court Judge

          Arthur J. Cooperman. During that plea hearing Petty admitted to grabbing Plaintiff with

          his hands; throwing Plaintiff on the bed and using a long knife to assist in throwing Plaintiff

          on the bed. Plaintiff has never consented to the aforementioned bodily contacts with Petty.

          See attached (Exhibit L), a certified copy of the April 5, 1995, plea hearing.



   I declare under penalty of perjury that the preceding is true and correct.



   Executed on February 14, 2022.

                                                         ________________________________

                                                         Tyrone Blackburn




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